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    8   KEATING DENTAL ARTS, INC.
    9
                       IN THE UNITED STATES DISTRICT COURT
   10
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
   11
                                   SOUTHERN DIVISION
   12
   13   JAMES R. GLIDEWELL DENTAL                    ) Civil Action No.
        CERAMICS, INC. dba GLIDEWELL                 ) SACV11-01309-DOC(ANx)
   14   LABORATORIES,                                )
                                                     ) DECLARATION OF DR.
   15               Plaintiff,                       ) TERRY L. MYERS IN
                                                     ) SUPPORT OF KEATING
   16         v.                                     ) DENTAL ARTS, INC.’S
                                                     ) MOTIONS FOR SUMMARY
   17   KEATING DENTAL ARTS, INC.                    ) JUDGMENT
                                                     )
   18               Defendant.                       ) Honorable David O. Carter
                                                     )
   19                                                )
        AND RELATED COUNTERCLAIMS.                   )
   20                                                )
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    1         I, Dr. Terry L. Myers, hereby declare as follows:
    2         I am a practicing dentist who has purchased dental restorations from
    3   Keating Dental Arts, Inc. (“Keating”). My dental office is located at 109 Apple
    4   Valley Parkway, Belton, MO 64012. I have personal knowledge of the matters
    5   set forth herein. If called upon to testify, I could and would testify as follows:
    6         1.     I am licensed to practice dentistry in the state of Missouri.           I
    7   received an undergraduate degree from Rockhurst University in 1982.                  I
    8   received a Doctor of Dental Surgery degree from the University of Missouri at
    9   Kansas City (“UMKC”) in 1987. In 1988, I completed a residency in advanced
   10   general dentistry at UMKC. In 1992, I became a Fellow in the Academy of
   11   General Dentistry. From 1988 to 2001, I worked as an assistant professor at
   12   UMKC in addition to working in my dental practice. I have been practicing as a
   13   licensed dentist for 26 years. During that time, it has been a regular part of my
   14   practice to treat patients in need of dental restorations.
   15         2.     To address my patients in need of dental restorations, it has been
   16   my practice to purchase crowns and bridges from dental laboratories that
   17   manufacture the restorations in response to my specifications. In this regard, I
   18   provide the dental laboratories with a prescription form that identifies the
   19   patient, the tooth (or teeth), and the specific dental restoration product that I
   20   would like manufactured for the patient. The state of Missouri requires dentists
   21   to use a state issued standard prescription for these purposes. Attached as
   22   Exhibit A is a true and correct copy of one of these blank forms issued by the
   23   State of Missouri.
   24         3.     Since my dental practice began in 1988, I have ordered dental
   25   restorations from a number of different dental laboratories. I have been ordering
   26   dental restorations from Keating since around 2002. I am aware of Glidewell
   27   Laboratories but have only occasionally ordered a dental restoration from them.
   28         4.     I have ordered many different types of dental restorations from

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    1   Keating, including porcelain-fused-to-metal crowns, gold crowns, and crowns
    2   containing zirconia.
    3         5.     The first time I ordered a crown containing zirconia from Keating
    4   was in May 2007 when I ordered a “KDZ” crown. In 2007, Keating’s “KDZ”
    5   crown had a zirconia substructure with a porcelain overlay and I recognized the
    6   “Z” in the name to identify a product made with Zirconia.
    7         6.     The first time I ordered a full contour zirconia crown from Keating
    8   was in July 2011 when I ordered what Keating calls a KDZ Bruxer crown. I
    9   learned of Keating’s KDZ Bruxer product from speaking with Keating
   10   representatives at their booths at tradeshows.
   11         7.     More recently, in November 2011, I ordered a KDZ Bruxer crown
   12   from Keating for tooth #18 for one of my patients. Attached as Exhibit B is a
   13   true and correct copy of the Dental Laboratory Work Authorization form that I
   14   submitted to Keating for this order.
   15         8.     In the order form attached as Exhibit B, I specified the product that
   16   I was ordering by having my assistant, under my direction, write “Bruxzir” in
   17   the space after “Type of restoration” and then writing “Please fabricate #18
   18   Bruxzir crown” in the “Instructions” section of the form. I used the term
   19   “bruxzir” on the prescription form because to me that term meant a full contour
   20   zirconia crown for bruxers. I knew I was ordering the crown from Keating and I
   21   wanted to receive a crown made by Keating.
   22         9.     When I asked my assistant to write “Bruxzir” on the prescription
   23   form, I did not intend to order a crown made by Glidewell Laboratories. Nor
   24   did I intend to order a crown made from material provided by Glidewell
   25   Laboratories. When I ordered the KDZ Bruxer crown, I did not think there was
   26   any affiliation between Keating and Glidewell Laboratories.
   27         10.    In the course of my dental practice, I see many advertisements for
   28   dental products. Within these advertisements, I have seen many different dental


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    1   laboratories advertise a “bruxzir” crown.         From these advertisements, I
    2   understand the term “bruxzir” crown means a full contour zirconia crown and
    3   does not identify a particular company or a particular company’s product.
    4         11.    When I saw the term “bruxzir” used to refer to an all zirconia
    5   crown, I recognized “zir” in the term to refer to zirconia and “brux” to identify a
    6   patient who bruxes or has bruxism.
    7         12.    Soon after sending the prescription form attached as Exhibit B to
    8   Keating, an employee of Keating contacted my office to clarify my order and
    9   spoke with my assistant. Specifically, the Keating employee asked to confirm
   10   that I wanted to order Keating’s KDZ Bruxer product. The Keating employee
   11   explained that the term “BruxZir” is a brand name of another dental laboratory
   12   and offered to return the order to me if I wanted to order from another dental
   13   laboratory. I told my assistant to confirm that I wanted to order Keating’s full
   14   contour zirconia crown.
   15
              I declare under penalty of perjury under the laws of the United States of
   16
        America that the foregoing is true and correct.
   17
              Executed November 13, 2012, in Belton, Missouri.
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   20                                          Dr. Terry L. Myers
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                    EXHIBIT A
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                                                                             Exhibit A
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                     EXHIBIT B
CONFIDENTIAL ATTORNEY’S EYES ONLY   Case 8:11-cv-01309-DOC-AN Document 103 Filed 11/19/12 Page 8 of 8 Page ID #:4177




                                                         REDACTED
KDA-001965




                                                                                                                       Exhibit B
